UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 DENNIS J. DONOGHUE;                                  Case No. 23-cv-4480 (VSB)
 and MARK RUBENSTEIN,

 Plaintiffs,                                          CONFIDENTIALITY STIPULATION
                                                      AND PROPOSED PROTECTIVE
 v.                                                   ORDER

 SILVERSUN TECHNOLOGIES, INC.,

 Nominal Defendant,

 and

 MILTON C. AULT, III;
 AULT GLOBAL HOLDINGS, INC.;
 and DIGITAL POWER LENDING, LLC,

                                     Defendants.


       WHEREAS, the parties having agreed to the following terms of confidentiality, and the
Court having found that good cause exists for the issuance of an appropriately tailored
confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, it is hereby

       ORDERED that the following restrictions and procedures shall apply to the information
and documents exchanged by the parties in connection with the pre-trial phase of this action:

        1.      Counsel for any party may designate any document or information, in whole or in
part, as confidential if counsel determines, in good faith, that such designation is necessary to
protect the interests of the client in information that is proprietary, a trade secret, or otherwise
sensitive non-public information (“Confidential Information”). Information and documents
designated by a party as confidential will be stamped “CONFIDENTIAL.”

        2.     The Confidential Information disclosed will be held and used by the person
receiving such information solely for use in connection with the action.

        3.      In the event a party challenges another party’s designation of confidentiality,
counsel shall make a good faith effort to resolve the dispute, and in the absence of a resolution,
the challenging party may seek resolution by the Court. Nothing in this Protective Order
constitutes an admission by any party that Confidential Information disclosed in this case is
relevant or admissible. Each party reserves the right to object to the use or admissibility of the
Confidential Information.
       4.      Documents designated as “CONFIDENTIAL” shall not be disclosed to any
person, except:

               a.      Any party, deponent, or witness in this litigation, and their respective
                       counsel, including in-house counsel;

               b.      Employees of any party or counsel assigned to and necessary to assist in
                       the litigation;

               c.      Consultants or experts assisting in the prosecution or defense of the
                       matter, to the extent deemed necessary by counsel; and

               d.      The Court (including the mediator, or other person having access to any
                       Confidential Information by virtue of his or her position with the Court).

The parties should meet and confer if any production requires a designation of “For Attorneys’
or Experts’ Eyes Only.”

       5.     Prior to disclosing or displaying the Confidential Information to any person,
counsel must:

               a.      Inform the person of the confidential nature of the information or
                       documents;

               b.      Inform the person that this Court has enjoined the use of the information
                       or documents by him/her for any purpose other than this litigation and has
                       enjoined the disclosure of the information or documents to any other
                       person; and

               c.      Require each such person to sign an agreement to be bound by this Order
                       in the form attached as Exhibit A.

        6.      The disclosure of a document or information without designating it as
“CONFIDENTIAL” shall not constitute a waiver of the right to designate such document or
information as Confidential Information. If so designated, the document or information shall
thereafter be treated as Confidential Information subject to all the terms of this Stipulation and
Order.

        7.     Any Personally Identifying Information (“PII”) (e.g., social security numbers,
financial account numbers, passwords, and information that may be used for identity theft)
exchanged in discovery shall be maintained by the receiving party in a manner that is secure.

        8.      Pursuant to Federal Rule of Evidence 502, the production of privileged or work
product protected documents or communications, electronically stored information (“ESI”) or
information, whether inadvertent or otherwise, shall not constitute a waiver of the privilege or
protection from discovery in this case or in any other federal or state proceeding. This Order
shall be interpreted to provide the maximum protection allowed by Federal Rule of Evidence
502(d). Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a


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